                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

MARCUS WALKER #374618,

      Plaintiff,                              NO. 2:21-cv-12874

v                                             HON. DENISE PAGE HOOD

DR. MARY GREINER, et al.,                     MAG. PATRICIA T. MORRIS

      Defendants.

Marcus Walker #374618                         CHAPMAN LAW GROUP
In Pro Per                                    Nicholas B. Pillow (P83927)
Gus Harrison Correctional Facility            Jonathan C. Lanesky (P59740)
2727 East Beecher Street                      Attorneys for Defendants for
Adrian, MI 49221                               Dr. Coleman, Dr. Papendick,
                                               Dr. Dorsey, Dr. Greiner, PA Jindal
Allan J. Soros (P43702)                        and Pfeil
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                                                                                /

         MDOC DEFENDANTS’ MOTION TO DISMISS OR,
         ALTERNATIVELY, FOR SUMMARY JUDGMENT
              ON THE BASIS OF EXHAUSTION

      MDOC Defendants Dr. Carmen McIntyre-Leon and RN Mary

Velarde, by counsel, bring this motion under Fed. Rs. Civ. P. 12(b)(6)

and 56(a), and ask the Court to enter its order dismissing Plaintiff’s



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Complaint and granting judgment in MDOC Defendants’ favor, based

on the grounds set forth in MDOC Defendants’ accompanying brief.

     Concurrence in this motion has not been sought because Plaintiff

is an incarcerated prisoner proceeding in pro se.

                                        Respectfully submitted,

                                        s/ Allan J. Soros
                                        Assistant Attorney General
                                        Attorney for MDOC Defendants
                                        Corrections Division
                                        P.O. Box 30217
                                        Lansing, MI 48909
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                                        sorosa@michigan.gov
                                        P43702
Dated: January 25, 2023




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MARCUS WALKER #374618,

      Plaintiff,                              NO. 2:21-cv-12874

v                                             HON. DENISE PAGE HOOD

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 MDOC DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO
DISMISS OR, ALTERNATIVELY, FOR SUMMARY JUDGMENT
            ON THE BASIS OF EXHAUSTION




                                          1
                              Allan J. Soros
                              Assistant Attorney General
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                              P43702
Dated: January 25, 2023




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     CONCISE STATEMENT OF ISSUES PRESENTED

1.    A Plaintiff must make a clear showing that each named
      Defendant was personally involved in the activity that forms
      the basis of the complaint. Liability under § 1983 must be
      based on active unconstitutional behavior and cannot be
      based upon “a mere failure to act.” Plaintiff has not
      sufficiently alleged personal involvement of MDOC
      Defendant Dr. McIntyre-Leon. Should Plaintiff’s complaint
      against Dr. McIntyre-Leon be dismissed?

2.    A prisoner must exhaust his administrative remedies before
      filing a complaint under 42 U.S.C. § 1983. To properly
      exhaust, a prisoner must attempt to resolve the issue
      verbally within two business days of the offending event. A
      prisoner must then file a Step I grievance within five
      business days after attempting to verbally resolve the issue
      with the staff member involved. If not resolved, a prisoner
      must then file a Step II and III appeal. Plaintiff did not
      properly complete the grievance process regarding his
      Complaint allegations. Should the Court dismiss Plaintiff’s
      unexhausted Complaint allegations?




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     CONTROLLING OR MOST APPROPRIATE AUTHORITY

1.   Lack of Personal Involvement

     Even under the less stringent standard allowed for pro se

complaints, the complaint must allege facts sufficient to show that a

legal wrong has been committed and that it was committed by the

named defendants. Conclusory, unsupported allegations of

constitutional deprivation do not state a claim. See Chapman v. City of

Detroit, 808 F.2d 459, 465 (6th Cir. 1986).

2.   Legal Standard for Exhaustion under 42 U.S.C. § 1997e(a)

     Under 42 U.S.C. § 1997e(a), a prison inmate cannot maintain a

civil rights action challenging prison conditions if he did not first

exhaust all available administrative remedies. Porter v. Nussle, 534

U.S. 516, 524 (2002). The Supreme Court has held that exhaustion

requires proper exhaustion, which means that the prisoner must

complete the administrative review process. Woodford v. Ngo, 548 U.S.

81 (2006).




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                       STATEMENT OF FACTS

     Plaintiff, Marcus Walker (“Walker”), is a pro se prisoner who is

currently confined in the Michigan Department of Corrections

(“MDOC”) at the Gus Harrison Correctional Facility (ARF), Adrian,

Michigan. Walker’s Complaint is filed under 42 U.S.C. § 1983 and

protests infringement of his civil rights, alleging violations of the

Eighth Amendment of the United States Constitution.

     Dr. Carmen McIntyre-Leon is the current Chief Medical Officer

for MDOC, and Mary Velarde is a Registered Nurse employed at ARF.

     “On February 1, 2018, Plaintiff injured his right shoulder and arm

while working out in the prison’s weight room. In September 2018, an

MRI performed at a Henry Ford Health System facility showed that he

had a near complete tear of his rotator cuff.” (ECF No. 4, PageID.68-

69.) “Plaintiff alleges the delay in treatment and failure to adequately

treat his injury has resulted in permanent disability and that he

continues to suffer from severe, debilitating pain which severely

impacts and restricts his function.” (ECF No. 4, PageID.69.)




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                             ARGUMENT

I.   Walker fails to state how MDOC Defendant Dr. McIntyre-
     Leon was personally involved in any unconstitutional
     conduct.
     To state of claim under § 1983, a plaintiff must allege the violation

of a right secured by the Constitution and laws of the United States and

must show that the alleged deprivation was committed by a person

acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988).

A plaintiff must make a clear showing that each named defendant was

personally involved in the activity that forms the basis of the complaint.

Rizzo v. Goode, 423 U.S. 362, 375–76 (1976); Copeland v. Machulis, 57

F.3d 476, 481 (6th Cir. 1995).

     MDOC Defendant Dr. McIntyre-Leon is cognizant of the well-

settled maxim that pro se complaints are held to a “less stringent

standard” than those drafted by attorneys. Haines v. Kerner, 404 U.S.

519, 520–21 (1972). But even under the less stringent standard allowed

for pro se complaints, the complaint must allege facts sufficient to show

that a legal wrong has been committed and that it was committed by

the named defendants. Conclusory, unsupported allegations of

constitutional deprivation do not state a claim. Ana Leon T. v. Federal



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Reserve Bank, 823 F.2d 928, 930 (6th Cir. 1987); Chapman v. City of

Detroit, 808 F.2d 459, 465 (6th Cir. 1986).

      The court must determine whether an allegation contains enough

facts to state a claim to relief that is plausible on its face. Bell Atl.

Corp. v. Twombley, 550 U.S. 544, 555 (2007). A claim is considered to

be facially plausible when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). Although the plausibility standard does not amount to a

“probability” requirement, it requires more than a simple possibility

that a defendant has acted unlawfully. Id.

      It is a basic pleading essential that a plaintiff attribute factual

allegations to particular defendants. Twombley, 550 U.S. at 555. At a

minimum, in order to state a claim a plaintiff must make sufficient

allegations to give a defendant fair notice of a claim. Twombley, 550

U.S. at 555. Where a person is named as a defendant without an

allegation of specific conduct, the complaint is subject to dismissal, even

under the liberal construction afforded to pro se complaints. Frazier v.




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Michigan, No. 02-1160; 2002 U.S. App. LEXIS 14881 at **5 (6th Cir.

July 22, 2002).

     Moreover, the Sixth Circuit has held that “a supervisory official’s

failure to supervise, control or train the offending individual is not

actionable unless the supervisor either encouraged the specific incident

of misconduct or in some other way directly participated in it.” Shehee

v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999) (quotation omitted). In

other words, the plaintiff must demonstrate that the supervisory

“official at least implicitly authorized, approved, or knowingly

acquiesced in the unconstitutional conduct of the offending officers.” Id.

     A supervisory official’s awareness after the fact of alleged illegal

conduct does not provide a basis for imposition of damages under 42

U.S.C. § 1983. Weaver v. Toombs, 756 F. Supp. 335, 337 (W.D. Mich.

1989). Merely being aware of a prisoner’s complaint and failing to take

corrective action is insufficient to impose liability on supervisory

personnel under § 1983. Poe v. Haydon, 853 F.2d 418, 429 (6th Cir.

1988). Liability under § 1983 must be based on active unconstitutional

behavior and cannot be based upon “a mere failure to act.” Shehee, 199

F.3d at 300. “Because vicarious liability is inapplicable to Bivens and


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§ 1983 suits, a plaintiff must plead that each Government-official

defendant, through the official’s own individual actions, has violated the

Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009).

      Walker’s Complaint contains 2 references to Dr. McIntyre-Leon;

she’s the Chief Medical Officer (CMO) for MDOC (ECF No. 1, PageID.22

at ¶23) and as the CMO, she works with MDOC and Corizon “to

implement policies, analyze health data, and identify area[s] of

improvement”. (ECF No. 1, PageID.22 at ¶115)

      In short, Walker has failed to state how Dr. McIntyre-Leon was

personally involved in any unconstitutional conduct, and she is

therefore entitled to dismissal.

II.   A prisoner must exhaust his administrative remedies
      before filing a complaint under 42 U.S.C. § 1983. To
      properly exhaust, a prisoner must attempt to resolve the
      issue verbally within two business days of the offending
      event. A prisoner must then file a Step I grievance within
      five business days after attempting to verbally resolve the
      issue with the staff member involved. If not resolved, a
      prisoner must then file a Step II and III appeal. Plaintiff
      did not properly file a grievance regarding his Complaint
      allegations against any MDOC Defendant. The Court
      should dismiss Plaintiff’s Complaint against MDOC
      Defendants Dr. McIntyre-Leon and RN Velarde.

A.    Legal Standard



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     A prisoner-plaintiff no longer has to plead or demonstrate

exhaustion to satisfy the PLRA requirements of 42 U.S.C. § 1997e(a);

failure to exhaust administrative remedies is an affirmative defense

that must be raised by a defendant. Jones v. Bock, 549 U.S. 199 (2007).

Under 42 U.S.C. § 1997e(a), a prison inmate cannot maintain a civil

rights’ action with respect to prison conditions brought under any

federal law if he did not first exhaust all available administrative

remedies.

     The Supreme Court has held that exhaustion requires proper

exhaustion, which means that the prisoner must complete the

administrative review process. Woodford v. Ngo, 548 U.S. 81 (2006).

Exhaustion of administrative remedies is a prerequisite to filing a

prisoner lawsuit challenging prison conditions. 42 U.S.C. § 1997e(a);

Porter v. Nussle, 534 U.S. 516, 524 (2002). “The plain language of the

statute makes exhaustion a precondition to filing an action in federal

court.” Nussle, 534 U.S. at 523; Freeman v. Francis, 196 F.3d 641, 645

(6th Cir. 1999). Exhaustion is an issue that must be determined before

the Court can review the merits of the plaintiff’s claims and the

remaining defenses raised by the defendants.


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     The PLRA attempts to eliminate unwarranted federal-court

interference with the administration of prisons, and thus seeks to

“affor[d] corrections officials time and opportunity to address

complaints internally before allowing the initiation of a federal case.”

Nussle, 534 U.S. at 525. The PLRA also was intended to “reduce the

quantity and improve the quality of prisoner suits.” Id. at 524.

     Requiring proper exhaustion serves all of these goals. It gives

prisoners an effective incentive to make full use of the prison grievance

process and accordingly provides prisons with a fair opportunity to

correct their own errors. Woodford, 548 U.S. at 94. This is important in

relation to prison systems because it is “difficult to imagine an activity

in which a State has a stronger interest, or one that is more intricately

bound up with state laws, regulations, and procedures, than the

administration of its prisons.” Preiser v. Rodriguez, 411 U.S. 475, 491-

492 (1973). Thus, it is essential for a plaintiff to properly exhaust his

administrative remedies before filing suit by filing a grievance that

complies with the prison grievance system regarding the allegations

made in his complaint.




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      An untimely grievance, or otherwise improperly filed grievance,

even though appealed through all steps of a grievance procedure, does

not fulfill the exhaustion requirement of 42 U.S.C. § 1997e(a).

Permitting an untimely or otherwise improperly filed grievance, even

though appealed through all steps, to satisfy § 1997e(a)’s requirement

“would permit a prisoner to bypass deliberately and flagrantly

administrative review without any risk of sanction.” Woodford, 548

U.S. at 97. The Woodford court explained:

      A prisoner who does not want to participate in the prison
      grievance process will have little incentive to comply with
      the system’s procedural rules unless noncompliance carries a
      sanction …. For example, a prisoner wishing to bypass
      available administrative remedies could simply file a late
      grievance without providing any reason for failing to file on
      time. If the prison then rejects the grievance as untimely,
      the prisoner could proceed directly to federal court. And
      acceptance of the late grievance would not thwart the
      prisoner’s wish to bypass the administrative process; the
      prisoner could easily achieve this by violating other
      procedural rules until the prison administration had no
      alternative but to dismiss the grievance on procedural
      grounds. We are confident that the PLRA did not create such
      a toothless scheme.

Id. at 95.

      “The level of detail necessary in a grievance to comply with the

grievance procedures will vary from system to system and claim to


                                    8
claim, but it is the prison’s requirements, and not the PLRA, that define

the boundaries of proper exhaustion.” Jones, 549 U.S. at 219.

B.   The applicable MDOC grievance policy, PD 03.02.130

     The administrative process applicable to Plaintiff’s claims is

governed by MDOC Policy Directive 03.02.130, “Prisoner/Parolee

Grievances” (Effective date 03/18/2019). The policy directive states, in

pertinent part, as follows:

     F.    Grievances may be submitted regarding alleged
     violations of policy or procedure or unsatisfactory conditions
     of confinement which directly affect the grievant, including
     alleged violations of this policy and related procedures.

                                   ***



     J.   […]. A grievance shall be rejected by the Grievance
     Coordinator if:

           5.  The grievance is filed in an untimely
           manner

                                   ***

           9.    The prisoner is grieving a decision made in
           a Class I misconduct hearing or other hearings
           conducted by Administrative Law Judges (ALJ’s)
           employed by the Michigan Department of
           Licensing and Regulatory Affairs (LARA),
           including property disposition and issues directly
           related to the hearing process (e.g., sufficiency of
           witness statements; timeliness of misconduct
           review; timeliness of hearing).

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                                  ***

     Q.    Prior to submitting a written grievance, the grievant
     shall attempt to resolve the issue with the staff member
     involved within two business days after becoming aware of a
     grievable issue, unless prevented by circumstances beyond
     his/her control or if the issue falls within the jurisdiction of
     the Internal Affairs Division in Operations Support
     Administration. If the complaint is not resolved, the grievant
     may file a Step I grievance. The Step I grievance must be
     filed within five business days after the grievant attempted
     to resolve the issue with staff.

                                  ***

     S.    A grievant shall use the Prisoner/Parolee Grievance
     form (CSJ-247A) to file a Step I grievance; a
     Prisoner/Parolee Grievance Appeal form (CSJ-247B) shall be
     used to file a Step II or Step III grievance. The forms may be
     completed by hand or by typewriter however, handwriting
     must be legible. The issues shall be stated briefly but
     concisely. Information provided shall be limited to the facts
     involving the issue being grieved (i.e., who, what, when,
     where, why, how). Dates, times, places and names of all
     those involved in the issue being grieved are to be included.

                                  * * *

     W. Within five business days after attempting to resolve a
     grievable issue with staff, a grievant may send a completed
     Prisoner/Parolee Grievance form (CSJ-247A) to the Step I
     Grievance Coordinator designated for the facility, field office
     or other office being grieved….

(MDOC Defendants’ Exhibit A).

C.   Walker has not properly exhausted his Complaint
     allegations as to any MDOC Defendant because he did not


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     properly complete the grievance process regarding those
     issues raised in his Complaint.

     Walker has filed eleven Step III grievance appeals while

incarcerated at ARF during the timeframe of his complaint. (MDOC

Defendants’ Exhibit B).

     In Grievance ARF-21-03-0349-28I, Walker complained at Step I

about PA Jindal. (MDOC Defendants’ Exhibit B, pin cite 9-13). Nowhere

in this Step I grievance does Walker name Dr. McIntyre-Leon or RN

Velarde despite the requirement that the names of all those involved in

the issue being grieved were to be included. (MDOC Defendants’

Exhibit A at ¶R). “Under the Department of Corrections’ procedural

rules, inmates must include the ‘[d]ates, times, places and names of all

those involved in the issue being grieved’ in their initial grievance.”

Reed-Bey v. Pramstaller, 603 F.3d 322, 324 (6th Cir. 2010) (emphasis

added). This grievance does not exhaustion Walker’s complaint

allegations involving Dr. McIntyre-Leon or RN Velarde.

     In Grievance ARF-20-12-2458-12Z1, Walker complained at Step I

about “Corizon and it’s employees”. (MDOC Defendants’ Exhibit B, pin

cite 14-18). Nowhere in this Step I grievance does Walker name Dr.

McIntyre-Leon or RN Velarde despite the requirement that the names

                                     11
of all those involved in the issue being grieved were to be included. This

grievance does not exhaustion Walker’s complaint allegations involving

Dr. McIntyre-Leon or RN Velarde.

     In Grievance ARF-21-01-0006-28I, Walker stated at Step I that he

sent numerous medical kites, one of which was responded to by RN

Velarde indicating that he had an appointment in February with the

requested medical provider. (Id., pin cite 19-23). Nowhere in this Step I

grievance does Walker name Dr. McIntyre-Leon despite the

requirement that the names of all those involved in the issue being

grieved were to be included. Furthermore, this grievance was rejected

for failure to attempt to resolve before filing. That rejection was upheld

at Steps II and III. “As long as the state clearly rejects a grievance for a

reason explicitly set forth in the applicable grievance procedure, a

subsequent § 1983 claim based on the grievance will be subject to

dismissal for failure to properly exhaust.” Burnett v. Howard, No. 2:09-

cv-37, 2010 U.S. Dist. LEXIS 30499, at *3 (W.D. Mich. Mar. 30, 2010)

(quotation marks omitted). (MDOC Defendants’ Exhibit C). Since

Walker failed to follow the proper procedures, this grievance does not

exhaust any of his Complaint allegations involving RN Velarde.


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     In Grievance ARF-19-10-2533-27Z, Walker complained at Step I

about “Corizon and their staff”, Warden Campbell and Director

Washington. (MDOC Defendants’ Exhibit B, pin cite 24-28). Nowhere in

this Step I grievance does Walker name Dr. McIntyre-Leon or RN

Velarde despite the requirement that the names of all those involved in

the issue being grieved were to be included. This grievance does not

exhaustion Walker’s complaint allegations involving Dr. McIntyre-Leon

or RN Velarde.

     In Grievance ARF-19-10-2379-28I, Walker complained at Step I

about Dr. Greiner. (Id., pin cite 29-34). Nowhere in this Step I grievance

does Walker name Dr. McIntyre-Leon or RN Velarde despite the

requirement that the names of all those involved in the issue being

grieved were to be included. This grievance does not exhaustion

Walker’s complaint allegations involving Dr. McIntyre-Leon or RN

Velarde.

     In Grievance ARF-19-07-1712-28I, Walker complained at Step I

about Dr. Greiner and PA Jindal. (Id., pin cite 35-42). Nowhere in this

Step I grievance does Walker name Dr. McIntyre-Leon or RN Velarde

despite the requirement that the names of all those involved in the


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issue being grieved were to be included. This grievance does not

exhaustion Walker’s complaint allegations involving Dr. McIntyre-Leon

or RN Velarde.

     In Grievance ARF-19-01-0227-12D1, Walker complained at Step I

about RN Frenick. (Id., pin cite 43-48). Nowhere in this Step I grievance

does Walker name Dr. McIntyre-Leon or RN Velarde despite the

requirement that the names of all those involved in the issue being

grieved were to be included. This grievance does not exhaustion

Walker’s complaint allegations involving Dr. McIntyre-Leon or RN

Velarde.

     In Grievance ARF-18-11-3108-12I, Walker complained at Step I

about PA Jindal. (Id., pin cite 49-53). Nowhere in this Step I grievance

does Walker name Dr. McIntyre-Leon or RN Velarde despite the

requirement that the names of all those involved in the issue being

grieved were to be included. This grievance does not exhaustion

Walker’s complaint allegations involving Dr. McIntyre-Leon or RN

Velarde.

     In Grievance ARF-18-08-2101-12F, Walker complained at Step I

about Dr. Greiner. (Id., pin cite 54-61). Nowhere in this Step I grievance


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does Walker name Dr. McIntyre-Leon or RN Velarde despite the

requirement that the names of all those involved in the issue being

grieved were to be included. This grievance does not exhaustion

Walker’s complaint allegations involving Dr. McIntyre-Leon or RN

Velarde.

     In Grievance ARF-18-04-1061-12D1 Walker complained at Step I

about Dr. Greiner. (Id., pin cite 62-66). Nowhere in this Step I grievance

does Walker name Dr. McIntyre-Leon or RN Velarde despite the

requirement that the names of all those involved in the issue being

grieved were to be included. This grievance does not exhaustion

Walker’s complaint allegations involving Dr. McIntyre-Leon or RN

Velarde.

     In Grievance ARF-18-04-1086-12D1, Walker complained at Step I

about RN Solomonson. (Id., pin cite 67-75). Nowhere in this Step I

grievance does Walker name Dr. McIntyre-Leon or RN Velarde despite

the requirement that the names of all those involved in the issue being

grieved were to be included. This grievance does not exhaustion

Walker’s complaint allegations involving Dr. McIntyre-Leon or RN

Velarde.


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     Walker has not properly exhausted since he did not follow the

procedures of the policy by filing a Step III grievance appeal prior to

filing this lawsuit. Woodford, 548 U.S. at 94-95.

     Furthermore, Jones v. Bock reiterated the requirement of

Woodford, that “to properly exhaust administrative remedies prisoners

must ‘complete the administrative review process in accordance with

the applicable procedural rules,’ rules that are defined not by the PLRA,

but by the prison grievance process itself.” Jones, 549 U.S. at 218

(internal citation omitted). The Jones Court further stated, “[t]he level

of detail necessary in a grievance to comply with the grievance

procedures will vary from system to system and claim to claim, but it is

the prison’s requirements, and not the PLRA, that define the

boundaries of proper exhaustion.” Id. at 219. MDOC Defendants Dr.

McIntyre-Leon and RN Velarde are entitled to dismissal.

            CONCLUSION AND RELIEF REQUESTED

     Walker has failed to state a constitutional claim against MDOC

Defendant Dr. McIntyre-Leon, and has failed to exhaust administrative

remedies on his claims against both Dr. McIntyre-Leon and RN




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Velarde. The Court should therefore dismiss Dr. McIntyre-Leon and

RN Velarde from this lawsuit.

                                                  Respectfully submitted,

                                                  s/ Allan J. Soros (P43702)
                                                  Assistant Attorney General
                                                  Attorney for MDOC Defendants
                                                  Corrections Division
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                                                  sorosa@michigan.gov
Dated: January 25, 2023                           P43702
Soros\Walker 2022-0363663-A\MDOC Defs MSJ & BIS (Exhaustion)

                              CERTIFICATE OF SERVICE
        I certify that on January 25, 2023, I electronically filed MDOC
DEFENDANTS’ MOTION TO DISMISS OR, ALTERNATIVELY,
FOR SUMMARY JUDGMENT ON THE BASIS OF EXHAUSTION,
BRIEF IN SUPPORT, INDEX OF EXHIBITS, and EXHIBITS A
through C, with the Clerk of the Court using the ECF system and I certify
that my secretary, Joleen McQuiston, has mailed by U.S. Postal Service the
papers to the following non-ECF participant(s):
        Marcus Walker #374618
        In Pro Per
        Gus Harrison Correctional Facility
        2727 East Beecher Street
        Adrian, MI 49221
                                         s/ Allan J. Soros (P43702)
                                         Assistant Attorney General
                                         Corrections Division
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